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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   EVANSVILLE DIVISION

 JOHN DOE,                                            )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )        No. 3:21-cv-00144-JRS-MPB
                                                      )
 UNIVERSITY OF SOUTHERN INDIANA,                      )
                                                      )
                               Defendant.             )

  ORDER ON DEFENDANT'S MOTION TO MAINTAIN UNDER SEAL, PLAINTIFF'S
  MOTION TO MAINTAIN UNDER SEAL, PLAINTIFF'S MOTION TO STRIKE, AND
             CLARIFYING COURT'S OCTOBER 8, 2021, ORDER

        There are several sealing issues before this Court. The Court clarifies its October 8, 2021,

 Order Granting Plaintiff Leave to Proceed Under Pseudonym ("Pseudonym Order"), GRANTS

 IN PART Defendant's Motion to Maintain Under Seal (Docket No. 64), GRANTS IN PART

 Plaintiff's Motion to Maintain Document Under Seal (Docket No. 66), and DENIES Plaintiff's

 Motion to Strike (Docket No. 67), with leave to refile.

                                  I.    PROCEDURAL OVERVIEW

        Plaintiff, a nineteen-year-old sophomore at the University of Southern Indiana, has filed

 his Complaint seeking both monetary damages and injunctive relief alleging a procedurally

 flawed Title IX proceeding that, if not for the Temporary Restraining Order entered by the

 Vanderburgh Circuit Court and extended in this Court, would have resulted in his suspension

 from USI. Given the nature of the subject matter underlying Plaintiff's claims for relief, he

 pursued an unopposed request to proceed under pseudonym consistent with Local Rule 10-1.

 (Docket No. 15). The request was granted by the Court. The Court granted the motion (Docket

 No. 18) and directed "that any filings herein that contain Plaintiff's actual name shall and must be

 immediately sealed and shall and must remain under seal." (Id.).
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                         II.    LOCAL RULE REGARDING SEALING

        The Court has a detailed, but relatively straightforward process to filing documents under

 seal in Local Rule 5-11(b). Generally, "[t]he clerk may not maintain under seal any document

 unless authorized to do so by statute, rule or court order." The procedure to file a document

 under seal is set forth in subpart (d), which provides:

                (1) To file a document under seal, a party must file it electronically
                    as required under section 18 of the ECF Policies and Procedures
                    Manual . . . In either case, the party must include a cover sheet
                    as the first page for each document being filed under seal that
                    must include:

                        (A) the case caption;

                        (B) the title of the document, or an appropriate name to
                           identify it on the public docket if the title cannot be
                           publicly disclosed;

                        (C) the name, address, and telephone number of the person
                           filing the document; and

                        (D) if a motion requesting that it be sealed does not
                           accompany the document, identification of the statute,
                           rule, or court order authorizing the document to be
                           sealed. A protective order does not authorize a party to
                           file a document under seal.

                (2) Unless the sealed filing is authorized by statute, rule, or prior
                    court order (other than a protective order), a party filing a
                    document under seal must contemporaneously:

                    (A) file a Motion to Maintain Document(s) Under Seal, and

                        (i)     if the filing party designated the subject information
                                confidential, a Brief in support that complies with the
                                requirements of subsection (e), and a redacted
                                confidential portions blacked out) public version of a
                                document that is being filed under seal; and/or

                        (ii)    if the filing party did not designate the subject
                                information confidential, an identification of the
                                designating party(ies); and

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                    (B) serve an unredacted and complete version of the document
                        upon all counsel and pro se parties.

                (3) The designating party(ies) identified according to subsection
                    (2)(A)(ii) must, within 14 days of service of the Motion to
                    Maintain Document(s) under Seal, file a Statement Authorizing
                    Unsealing of Document (or specific portions thereof) and/or a
                    Brief in Support that complies with the requirements of
                    subsection (e) and a redacted (confidential portions blacked out)
                    public version of the document that was designated as
                    confidential and filed under seal. If the designating party fails to
                    file a supporting Statement or Brief, then the filing party must
                    notify the court of that failure. The court may summarily rule on
                    the (d)(2)(A) motion to seal if the designating party does not file
                    the required Statement or Brief.

 S.D. Ind. Local Rule 5-11(d). Subpart (e) of the rule provides that a brief in support must, among

 other requirements, identify "each specific document or portion(s) thereof that the party contends

 should remain under seal." The brief must detail "how the document satisfies applicable authority

 to maintain it under seal" and indicate "whether maintenance of the document under seal is

 opposed by any party." S.D. Ind. Local Rule 5-11(e).

  III.   THE COURT'S OCTOBER 8, 2021, ORDER GRANTING LEAVE TO PROCEED
                              UNDER PSEUDONYM

         In this Court's Pseudonym Order it provided that "[A]ny filings herein that contain

 Plaintiff's actual name shall and must be immediately sealed and shall and must remain under

 seal." (Docket No. 18). The purpose of permitting immediate sealing was to allow the parties to

 comply with the pseudonym order by concealing Plaintiff's actual name immediately and without

 requiring another motion. The Court did not intend for its entry granting leave to proceed under

 pseudonym to permit the parties to file entire documents under seal, without appropriate redacted

 versions, merely because they revealed Plaintiff's actual name. For instance, many, if not most,

 of the documents immediately sealed in relation to Plaintiff's motion for preliminary injunction

 go to the heart of the issues that Plaintiff brings forth. The Court will need to rely on some or all

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 of these documents in order to address Plaintiff's claims in a publicly issued order. Thus, the

 Court cannot ignore the general rule that documents that influence or underpin a judicial decision

 should be open to the public. Baxter International, Inc. v. Abbott Labs., 297 F.3d 544, 546 (7th

 Cir. 2002). While some sealing is necessary to maintain the pseudonym entry, wholesale sealing

 is inappropriate.

        Thus, the Court ORDERS the parties to file redacted, public versions of any documents

 that have been filed under seal pursuant to the Court's Pseudonym Order and that have not

 otherwise been accompanied by a motion to seal. The parties may redact Plaintiff's actual name

 and the actual name of the Jane Doe. If either party desires redactions beyond these names or

 items that must otherwise be redacted pursuant to rule or statute, a separate motion to seal must

 be filed in accordance with Local Rule 5-11. The redacted, public versions and/or motions to seal

 must be filed by November 29, 2021. This clarification to the Pseudonym entry applies to all

 filings moving forward.

       IV.    DEFENDANT'S MOTION TO MAINTAIN DOCUMENT UNDER SEAL

        Defendant's Motion to Maintain Documents and Audio Recording Under Seal (Docket

 No. 64) seeks to seal five exhibits it filed with its Brief in Opposition to Motion for Preliminary

 Injunction. Defendant cites the Pseudonym Order and/or the Family Educational Rights and

 Privacy Act ("FERPA"), 20 U.S.C. § 1232g, as authority for its sealing request. Defendant's

 request is GRANTED IN PART AND DENIED IN PART.

        The request is GRANTED as to Exhibit A, which is a "Panel Hearing Audio Recording"

 that we can infer contains Plaintiff and Jane Doe's actual names that are not in a readily

 redactable form. As to the remaining exhibits, Defendant's request is GRANTED IN PART, to

 the extent that Plaintiff and/or Jane Doe's actual names appear in the documents, but DENIED as

 to the remainder of the document. Defendant does not explain nor is it obvious to the Court how
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 FERPA explicitly authorizes sealing of these documents, which are mainly emails to Plaintiff or

 Jane Doe. And a quick read of Wolfe v. Schaefer, 619 F.3d 782 (7th Cir. 2010) shows that the

 case and, especially the portion Defendant quoted without application, do not fit this case nor the

 sealing analysis. Wolfe involved a plaintiff that brought a federal constitutional right of privacy

 claim and did not involve sealing at all. With regards to sealing, the Seventh Circuit has said:

                In civil litigation only trade secrets, information covered by a
                recognized privilege (such as the attorney-client privilege), and
                information required by statute to be maintained in confidence (such
                as the name of a minor victim of a sexual assault), is entitled to be
                kept secret on appeal. See generally Nixon v. Warner
                Communications, Inc., 435 U.S. 589, 98 S.Ct. 1306, 55 L.Ed.2d 570
                (1978); Jessup v. Luther, 277 F.3d 926 (7th Cir. 2002); United States
                v. Ladd, 218 F.3d 701 (7th Cir. 2000); Citizens First National Bank
                v. Cincinnati Insurance Co., 178 F.3d 943 (7th Cir. 1999); Ball
                Memorial Hospital, Inc. v. Mutual Hospital Insurance, Inc., 784
                F.2d 1325 (7th Cir. 1986). Cf. Herrnreiter v. Chicago Housing
                Authority, 281 F.3d 634 (7th Cir. 2002). As we remarked in Union
                Oil [Co. v. Leavell, 220 F.3d 562 (7th Cir. 2000)], many litigants
                would like to keep confidential the salary they make, the injuries
                they suffered, or the price they agreed to pay under a contract, but
                when these things are vital to claims made in litigation they must be
                revealed.

 Baxter Intern., Inc., 297 F.3d at 546-47.

        From a procedural standpoint, Defendant does not identify who is the "designating

 party," to allow this Court to understand whether an additional memorandum or appropriate

 redactions will be provided. Thus, Defendant's Motion to Maintain Documents and Audio

 Recording Under Seal is GRANTED as to Exhibit A (Docket No. 59) and GRANTED as to

 Exhibits C, D, E, and F, but only as to Plaintiff and Jane Doe's actual names. If either party

 desires redactions beyond these names or items that must otherwise be redacted pursuant to rule

 or statute, a separate motion to seal must be filed in accordance with Local Rule 5-11. The

 redacted, public versions and/or renewed motion to seal must be filed by November 29, 2021.



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                             V.    PLAINTIFF'S MOTION TO SEAL

        Next, Plaintiff has filed a Motion to Maintain Document Under Seal (Docket No. 66)

 Exhibits A (Plaintiff's original complaint) and B (State Court's record) to Defendant's Notice of

 Removal (Docket No. 1). (Docket No. 1-1; Docket No. 1-2). Plaintiff notes that the Circuit Court

 of Vanderburgh County marked the original complaint, which is included in both Exhibits A and

 B, as "confidential." Plaintiff indicates that under the Pseudonym Order these documents should

 be maintained under seal. Plaintiff notes that the original complaint is no longer the operative

 complaint in this matter as Plaintiff has filed an Amended Complaint. (Docket No. 27).

        Plaintiff's motion is GRANTED as to Exhibit A, given that the entire complaint is

 reproduced in Exhibit B. Plaintiff's motion is GRANTED IN PART as to Exhibit B. Plaintiff

 indicates that the original complaint was "confidential" in Vanderburgh Circuit Court. It is

 unclear if "confidential" means sealed, in whole, or just redacted for anonymity, but otherwise

 part of the public docket. Regardless, Plaintiff makes no representations that other portions of the

 state court's record were sealed, particularly the Temporary Restraining Order, which the parties

 have agreed to enforce until there is a ruling on the pending, but not fully briefed, preliminary

 injunction motion. Thus, Exhibit B may be sealed, but only as to Plaintiff and Jane Doe's actual

 names. If either party desires redactions beyond these names or items that must otherwise be

 redacted pursuant to rule or statute, a separate motion to seal must be filed in accordance with

 Local Rule 5-11. The redacted, public versions and/or motions to seal must be filed by

 November 29, 2021.

                          VI.     PLAINTIFF'S MOTION TO STRIKE

        Finally, Plaintiff has filed a Motion to Strike (Docket No. 67) citing Local Rule 5-11 and

 this Court's Pseudonym Order because, as Plaintiff asserts, the Defendant's Brief in Opposition to

 Motion for Preliminary Injunction ("Defendant's Brief") contains language personally identifying
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 Plaintiff and that, via a short, inferential chain, discloses Plaintiff's true identity. (Docket No. 67

 at ECF p. 2). Upon this motion's filing the Court provisionally sealed Defendant's Brief.

 Defendant opposes the request indicating it was "uncalled for." (Docket No. 68 at ECF p. 1).

         A Motion to Strike is not the appropriate vehicle for Plaintiff to seek the relief that he

 requests. To the extent that Plaintiff relies on Rule 12(f) of the Federal Rules of Civil Procedure

 for the relief that he seeks, the courts have consistently held that Rule 12(f) may only be used to

 attack a pleading. Renguette v. Bd. of School Trustees ex rel. Brownsburg Cmty. Sch. Corp.,

 2007 WL 1536841, at *5 (S.D. Ind. May 23, 2007) (collecting cases). Plaintiff may renew his

 request as a motion to seal Defendant's response brief. Plaintiff should ensure that the renewed

 request meets Local Rule 5-11, especially including subpart (e), which requires the movant to

 discuss each portion of the document he seeks to seal with specificity and including filing a

 proposed, public redacted version. Plaintiff should note that the Pseudonym Order permitted

 sealing Plaintiff's actual name and not necessarily identifying information that, via an inferential

 chain, could disclose Plaintiff's true identity. Finally, Defendant's response brief references a

 potential stipulation to seal both preliminary injunction briefs. A stipulation between the parties,

 by itself, is not a sufficient basis to permit sealing. Baxter Intern., Inc., 297 F.3d at 545.

                                       VII.     CONCLUSION

         The Court ORDERS the parties to file redacted, public versions of any documents that

 have been filed under seal pursuant to this Court's Pseudonym Order and that have not

 otherwise been accompanied by a motion to seal. The parties may redact Plaintiff and Jane

 Doe's actual names. If either party desires redactions beyond these names or items that must

 otherwise be redacted pursuant to rule or statute, a separate motion to seal must be filed in

 accordance with Local Rule 5-11. The redacted, public versions and/or motions to seal must be

 filed by November 29, 2021. This clarification to the Pseudonym entry applies to all filings
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 moving forward. Defendant's Motion to Maintain Documents and Audio Recording Under Seal

 (Docket No. 64) and Plaintiff's Motion to Maintain Document Under Seal (Docket No. 66) are

 GRANTED as to Docket No. 1-1 and Docket No. 59 and GRANTED IN PART as to Docket

 No. 1-2, Docket No. 60, Docket No. 61, Docket No. 62, and Docket No. 63, but only as to

 Plaintiff and Jane Doe's actual names. Redacted, public versions of these documents and/or any

 request for further sealing under Local Rule 5-11 must be filed by November 29, 2021. Finally,

 Plaintiff's Motion to Strike (Docket No. 67) is DENIED with leave to refile as a motion to seal.

 Pursuant to Local Rule 5-11(g), the Clerk is DIRECTED to unseal Docket No. 58 twenty-one

 days after this Entry, unless a renewed motion is filed to maintain the document under seal.

        SO ORDERED.

        Dated: 11/12/2021




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